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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                              PLAINTIFF

            v.               CASE NO. 13-50097-003

     DAVNA HOEPFNER                                                        DEFENDANT

                   MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

            On October 31, 2013, the Court entered an ordering directing

     that    the    Defendant    undergo    a   psychological       examination        to

     determine whether the Defendant was able to understand the nature

     and consequences of the proceedings against her or to assist

     properly in her defense.            On January 27, 2014, a psychological

     evaluation report was filed with the Court, in which, Dr. Lisa B.

     Feldman, a licensed psychologist with the Federal Detention Center

     in Miami, Florida, opined that the Defendant was competent to

     stand trial.        (Doc. 79 at pg. 12.)

            By electronic mail dated February 6, 2014, defense counsel

     advised the Court that he does not wish to request a hearing to

     contest the finding of competency.               Based upon Dr. Feldman’s

     uncontested evaluation, the undersigned finds that the Defendant

     is competent to proceed in this matter, as she appears to have

     sufficient ability to consult with her lawyer with a reasonable

     degree of understanding and to possess a rational as well as

     factual understanding of the proceedings against her.                 See Dusky

     v. United States, 362 U.S. 402, 402 (1960); United States v.

     Ghane, 490 F.3d 1036, 1040-41 (8th Cir. 2007).
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           The parties have fourteen days from receipt of the report and

     recommendation in which to file written objections pursuant to 28

     U.S.C. § 636(b)(1).       The failure to file timely objections may

     result in waiver of the right to appeal questions of fact.                 The

     parties are reminded that objections must be both timely and

     specific to trigger de novo review by the district court.

           IT IS SO ORDERED this 7th day of February, 2014.



                                           /s/ Erin L. Setser
                                             HON. ERIN L. SETSER
                                             UNITED STATES MAGISTRATE JUDGE




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